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                  UNITED STATES BANKRUPTCY COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 IN RE:                                       )   Case No. 09-61855-BEM
                                              )
 TODD ANTHONY SHAW,                           )   Chapter 7
                                              )
        Debtor.                               )
                                              )
                                              )

  APPLICATION OF MCE MANAGEMENT, LLC FOR COMPENSATION

       MCE Management, LLC (“MCE”) seeks entry of an order under section

 328(a) of the Bankruptcy Code and Bankruptcy Rule 2016 deviating from pre-

 approved terms of employment and allowing compensation for services performed

 for the Trustee, which are calculated under the “lodestar” method in the amount of

 $317,262.50, an additional $56,632.11 in interest on those fees, and $177,713.48,

 representing 7% of the value of assets recovered for the estate, for total of

 $551,608.09, capped at $528,500, representing the amount that MCE would have

 received as a commission. In support of this application, MCE shows the Court as

 follows:




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                               Jurisdiction and Venue

       1.     This Application is core under 28 U.S.C. § 157(b)(2). This Court has

 jurisdiction to consider this Application under 28 U.S.C. § 1334(b). Venue for this

 Application is proper in this Court under 28 U.S.C. §§ 1408 and 1409.

                                    Background

       2.     On January 26, 2009, Todd Anthony Shaw (the “Debtor”) filed this

 Chapter 7 bankruptcy case. S. Gregory Hays (the “Trustee”) is the Debtor’s Chapter

 7 Trustee.

       3.     In his bankruptcy schedules, the Debtor failed to disclose extremely

 valuable music royalties and the associated income streams (the “Royalties”). See

 First Interim Application of Rountree Leitman Klein & Geer LLC for Allowance of

 Compensation and Reimbursement of Expenses as Counsel for the Trustee [Doc.

 328] (“RKLG Fee App.”), ¶ 10.

       4.     After the Trustee became aware of the Royalties owed by Sony Music

 Entertainment and Universal Music Group, Inc., the Trustee approached MCE’s

 principal, Doug Colton, and requested that MCE act as a consultant to perform

 various services, including: to conduct due diligence on various property rights,

 income streams, statements, agreements, and assignments related to the Debtor’s

 music catalog; to identify any other rights and income streams which may not have

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 been disclosed by the Debtor; to act as the broker for the Debtor’s music catalog;

 and to help review and negotiate the terms of the various agreements and documents

 related to the review and potential sale of the catalog, and advise the Trustee

 regarding all of the above (collectively, the “MCE Services”). See id. at ¶¶ 12-15;

 see also Declaration of Doug Colton (“Colton Declaration”), ¶ 5.

       5.     Mr. Colton has deep expertise in music-related rights and income. He

 was previously President of Murrah Music Corporation, a highly successful music

 publishing company in Nashville, TN. See id., ¶ 3. Additionally, though he was not

 employed as legal counsel to the estate, Mr. Colton is an attorney specialized in

 music publishing, copyright, and intellectual property law with the entertainment

 firm of Sukin Colton Law Association. See id., ¶ 3. Mr. Colton has represented a

 diverse array of clients including Warner Chappell Music, the Estate of Elvis

 Presley, the Estate of Aretha Franklin, the Gershwins, numerous international music

 publishers, and individual songwriters and artists. See id., ¶ 3. He has particular

 expertise in music catalog acquisitions and financing transactions and has

 represented various sellers, buyers, banks, and other interested-party clients in such

 transactions for over 25 years. See id., ¶ 3. He has closed numerous catalog sales

 containing some of the world’s most popular music. See id., ¶ 3. In addition to Mr.



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 Colton, MCE employs highly specialized associates with a depth of experience in

 entertainment transactions. See id., ¶ 4.

        6.    On March 16, 2021, the Trustee filed an application to employ MCE

 under an agreement (the “Agreement”) to provide the MCE Services [Doc. No. 209]

 (the “Application to Employ”). A copy of the Agreement is attached as Exhibit “B”

 to the Application to Employ.

        7.    Under the terms of the Agreement, MCE was to provide the MCE

 Services and in exchange, the Trustee was to pay MCE a commission of 7% of the

 consideration paid for any sale. See Agreement, ¶¶ 1 and 3.

        8.    On March 24, 2021, the Court entered an order [Doc. No. 210]

 authorizing the Trustee to employ MCE under the Agreement.

        9.    After its engagement, MCE identified additional unscheduled Royalties

 owed    by    Broadcast    Music,    Inc.   (“BMI”)   and     SoundExchange,     Inc.

 (“SoundExchange”). See RKLG Fee App., ¶ 16; and Colton Declaration, ¶ 7.

        10.   As explained in the Colton Declaration and detailed in Exhibit A to the

 Colton Declaration, the additional Royalty streams identified by MCE have already

 yielded $538,764 in additional revenue to the estate and have a current present value

 of approximately $2 million. See Colton Declaration ¶ 7.



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       11.     Far worse than simply failing to schedule the BMI and Sound Exchange

 Royalties, it appears as though the Debtor (or other entities acting at the Debtor’s

 instruction) actively concealed these assets in a scheme to divert what the Trustee

 estimates could be more than $600,000.00 in post-petition Royalties. See RKLG Fee

 App., ¶ 17.

       12.     Thanks to the specialized skill and diligent efforts of MCE, the Trustee

 secured a contract (the “Sale Agreement”) to sell the Royalties (the “Sale”) to

 Reservoir Media Management, Inc. (the “Purchaser”), “as is, where is,” for

 $7,550,000.00 (the “Purchase Price”). See RKLG Fee App., ¶ 19; Colton

 Declaration, ¶ 8. The Purchase Price would have resulted in a $528,500 commission

 for MCE under the Agreement and millions to the estate that would have allowed

 the Trustee to make a 100% distribution to timely and untimely filed claims in this

 Case and would have resulted in a multi-million-dollar surplus. See RKLG Fee App.,

 ¶ 22; Colton Declaration, ¶ 8. Instead, the Debtor blew up the Sale. See RKLG Fee

 App., ¶ 21.

       13.     Although Mr. Colton is not generally compensated on an hourly basis,

 he and the three paralegals employed by MCE do routinely keep their time records.

 See Colton Declaration, ¶ 9. As detailed in the narrative invoice attached as Exhibit

 B to the Colton Declaration, MCE’s professionals devoted an estimated 639.5 hours

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 to the Trustee’s engagement. See id., ¶ 9. This work was performed by four

 professionals: Mr. Colton and three paralegals. See id., ¶¶ 9-10. Mr. Colton has relied

 on his knowledge of the industry in consultation with other similar professionals to

 arrive at the rates for each professional detailed in the time summary below. See id.,

 ¶ 10. In all, the value for MCE’s service based on the lodestar method (i.e., rate

 charged multiplied by hours expended) equals $317,262.50:

  Timekeeper                       Title            Hourly Rate Hours    Fee

  Maggie Downs                     Paralegal           $275     105.25   $28,943.75

  Becky Pommer Jones               Paralegal           $375     179.5    $67,312.50

  Greg Beeckman                    Paralegal           $475     179.75   $85,381.25

  Doug Colton                      Consultant          $775      175     $135,625

                          total                                          $317,262.50


 See id., ¶ 10.

        14.       Of course, these rates would contemplate prompt payment. See id., ¶

 11. Where, as here, payment is deferred, MCE would typically charge interest. See

 id., ¶ 11. Applying a 10% annual interest rate, compounded monthly, to the invoices,

 results in an additional $56,632.11 in interest. See id., ¶ 11 and Ex. C.




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       15.    When the Debtor filed bankruptcy, the prospect for a distribution to

 unsecured creditors, much less a surplus, seemed remote. See RKLG Fee App., ¶ 9.

 The Trustee, with the aid of MCE, identified considerable assets and packaged them

 for sale. See id., ¶ 19. Having sat silent for over a decade, the Debtor emerged and,

 on the last day to timely do so, objected to the Sale and moved to convert the case.

 [Doc. Nos. 290, 293.] As ably argued by the Trustee, the objection and the motion

 to convert were ill-founded. See RKLG Fee App., ¶ 21. Unfortunately, the issue

 would not come before the Court because, upon information and belief, the Debtor

 and those acting at his direction or on his behalf were acting behind the scenes to

 actively disrupt and undermine the Sale with threats and intimidation directed at the

 Purchaser. As a result, the Purchaser terminated the Sale Agreement in accordance

 with its terms on the eve of the hearing on the sale motion. See RKLG Fee App., ¶

 21; see also Colton Declaration, ¶ 12.

       16.    Now a Debtor, who has already profited from the misappropriation of

 estate funds, stands to profit from the uncompensated work of MCE as well. By

 killing the Sale, the Debtor deprived MCE a $528,500 commission. The assembled

 Royalties will pass to the Debtor after all claims are paid.

       17.    How could MCE have known, when it was engaged by the Trustee, that

 it might do all the hard work to produce a sale—including finding assets actively

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 concealed by the Debtor—only to have the long-dormant bad-faith Debtor re-emerge

 to thwart the deal? Fortunately, the Bankruptcy Code provides for such unforeseen

 circumstances.

                                  Legal Argument

       18.   Where professionals are retained by a trustee under section 327 subject

 to a pre-approved compensation agreement, as the case is here, the Court may alter

 the pre-approved compensation arrangement “if ‘such terms and conditions prove to

 have been improvident in light of developments not capable of being anticipated at

 the time of fixing of such terms and conditions.’” See In re Harman, 2006 WL

 6591823, *4 (Bankr. N.D. Ga. 2006) (citing section 328(a)); see also In re Carter,

 2004 WL 5846718, *5 (Bankr. N.D. Ga. 2004) (allowing reasonable compensation

 to real estate broker where conversion of case to Chapter 13 mooted pending sale).

       19.   For example, in Carter, the court approved the trustee’s employment of

 a realtor under section 327(a) to market and sell the debtor’s residence for a

 commission of 7% of the purchase price upon consummation of any sale. See 2004

 WL 5846718 at *1. The realtor procured a purchaser, and the trustee entered a sale

 contract and filed a motion for court approval to sell the property. Id. However, a

 few days before the trustee filed the sale motion, the debtor moved to convert the

 case to Chapter 13. Id. The court granted the debtor’s motion over the trustee’s

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 objection, rendering the sale motion moot. Id. Nonetheless, the court allowed

 compensation to the realtor based on the time and effort spent, finding that the parties

 could not have anticipated the conversion. In reaching its decision, the court

 “balanced the equities” of the case and noted, among other things, that the debtor

 did not object to the initial application and “stood idly by” while the professional

 invested his time and efforts. Id. at *6 (“It would be unjust under these circumstances

 to allow the Debtor to benefit from the conversion of the case without payment of

 reasonable and equitable compensation to [the professional].”).

       20.    In this case, it was not a Court-ordered conversion that mooted the sale;

 worse, it was the Debtor’s frivolous effort to convert coupled with its strategy of

 harassment that ultimately scared off the Purchaser. This was after the Debtor stood

 by, silent, for over two years during which time the MCE Services were provided.

 Just as it was in Carter, here it would be unjust to allow the Debtor to benefit without

 payment of reasonable and equitable compensation to MCE.

       21.    In determining the reasonableness of compensation allowed under

 section 328(a), the Carter court looked to the twelve-factor Johnson test. See id. at

 *7 (citing Johnson v. Georgia Highway Express, Inc., 488 F. 2d 714, 717 (5th Cir.

 1974)). The Johnson test, as modified in Carter to apply to non-legal services, looks

 at: “(1) The time and labor required; (2) The novelty and difficulty of the questions;

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 (3) The skill requisite to perform the ... service properly; (4) The preclusion of other

 employment by the [professional] due to acceptance of the case; (5) The customary

 fee; (6) Whether the fee is fixed or contingent; (7) Time limitations imposed by the

 client or other circumstances; (8) The amount involved and the results obtained; (9)

 The experience, reputation, and ability of the [professional]; (10) The

 ‘undesirability’ of the case; (11) The nature and length of the professional

 relationship with the client; and, (12) Awards in similar cases.” Id. The Carter court

 then applied the lodestar method to determine the reasonableness of the fee. See id.

            22.      Applying the relevant1 modified Johnson factors to the instant case, as

 set forth below, it is clear that MCE’s application is “reasonable.”

                  a. Time and labor required: The time and labor required were

                     significant. During the course of MCE’s engagement with the Trustee,

                     MCE committed a total of 639.5 hours to this matter. See Colton

                     Declaration, ¶¶ 9-10.

                  b. Novelty and difficulty of the questions: Though not novel for MCE,

                     the questions presented required skills well beyond the competencies

                     of most bankruptcy practitioners.




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     The sixth and seventh Johnson factors are not relevant to this application.
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         c. Skills requisite to perform the services properly: The issues handled

            by MCE require a high degree of specialized expertise in intellectual

            property rights in the entertainment industry.

         d. The preclusion of other employment: Naturally, a commitment of the

            sort undertaken by MCE results in the exclusion of other opportunities.

         e. The customary fee: As explained above, the rates for MCE’s

            professionals reflect rates charged by similar professionals in the

            industry.

         f. Whether the fee is fixed or contingent: Although the commission

            provided by the Agreement was necessarily contingent, it did not

            contemplate the unforeseen circumstances of this case, i.e., a previously

            dormant debtor emerging to disrupt a sale with frivolous legal

            positions, threats, and intimidation.

         g. The amount involved and the results obtained: Due to the efforts of

            MCE, the Trustee was able to locate previously unknown revenue

            streams and market test the value of the Royalties. As a result, a case

            that once appeared to offer no distribution to unsecured creditors will

            now result in a surplus to the uncooperative Debtor.



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         h. The experience, reputation, and ability of the professionals: MCE

            brought deep and significant industry specific know-how to bear.

         i. The “undesirability” of the case: In hindsight, the undesirability of the

            representation is clear. Through hard work and with great expertise,

            MCE worked toward a highly beneficial result only to have its effort

            undermined by the Debtor.

         j. The nature and length of the professional relationship with the client:

            MCE is not routinely involved with bankruptcies and has never worked

            for this Trustee. For one, this explains how MCE would not have

            foreseen the circumstance that disrupted the Sale. Moreover, MCE’s

            willingness to serve in the employ of a trustee administering assets for

            a bankruptcy estate should not be penalized because an opportunistic

            debtor emerged from a decade’s silence to chill the Sale.

         k. Awards in similar cases: Though MCE cannot point to a similar case,

            MCE’s requested fee is less than the commission it would have

            otherwise received. That proposed commission, which contemplated

            the work eventually performed by MCE, was approved by the Court.

            Similar commissions are approved routinely in this district.



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       23.      In addition to compensation under the lodestar method, MCE should

 also be compensated based on a percentage of the assets brought into the estate,

 namely the BMI and SoundExchange Royalties. As explained above, the additional

 Royalty streams identified by MCE have already yielded $538,764 in additional

 revenue to the estate and have a current present value of approximately $2 million.

 Applying the 7% commission to this asset yields an additional $177,713.48.

       24.      The total of fees calculated under the lodestar method $317,262.50 plus

 interest $56,632.11 on those fees and the $177,713.48 for the location of additional

 income streams exceed the commission under the Agreement. MCE has capped its

 request at the amount of that commission. Accordingly, MCE requests compensation

 of $528,500.

       WHEREFORE, Movant prays that the Court enter an order granting the

 Application, awarding MCE compensation of $528,500 under section 328(a), and

 granting such other and further relief as the Court deems just and proper.




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 This 17th day of January 2024.

                                    Respectfully submitted,

                                    SMITH, GAMBRELL & RUSSELL, LLP

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                           CERTIFICATE OF SERVICE

       I hereby certify that on January 17, 2024, I electronically filed the foregoing

 Application of MCE Management, LLC for Compensation with the Clerk of

 Court using the CM/ECF system, which will automatically send an e-mail

 notification of such filing to all attorneys of record.

                                                 /s/ Michael F. Holbein
                                                 Michael F. Holbein
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